                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:01-CR-88-1

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )          ORDER
                                                  )
DATAVON CUNNINGHAM                                )
                                                  )

       THIS MATTER IS BEFORE THE COURT on Defendant’s Motion to Amend/Correct

Sentence [doc. 134] filed on July 2, 2009.

       In accordance with the Court’s original intent, the motion to correct sentence is

GRANTED. Defendant’s Judgment is to be amended indicating that the entire federal sentence

is to run concurrently with the North Carolina state sentences in 01CRS14359 and

01CRS12534.

       IT IS ORDERED that a new J&C be prepared to reflect that the defendant’s entire

federal sentence is to run concurrently with the state sentencing.

       IT IS SO ORDERED.

                                                 Signed: August 25, 2009




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